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                                                         THE HONORABLE BRIAN A. TSUCHIDA
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,                                 No. CR 16-0005 BAT
 9
                                   Plaintiff,                  MOTION FOR RETURN OF
10
                                                               PASSPORT
11          v.
                                                               NOTE FOR MOTION
12   JONATHAN M. LOVE,                                         CALENDAR: DECEMBER 2,
13                                                             2016
                                   Defendant.
14
15                                       I.      INTRODUCTION
16          Defendant Jonathan M. Love, through counsel, brings this motion to request his passport
17   be returned to counsel, rather than be forwarded to the Department of State, as proposed in the
18   Notice of Intent to Forward Passport. See Dkt. # 21.
19
                                   II.        PROCEDURAL HISTORY
20
            On January 15, 2016, Mr. Love pleaded guilty to a gross misdemeanor. See Dkt. # 6.
21
     The same day, Mr. Love also surrendered his United States passport as directed by the Court
22
     pursuant to a special condition of the Appearance Bond. See Dkt. # 8 and 9. Mr. Love was
23
     sentenced by the Court on April 20, 2016. See Dkt. # 16. On October 26, 2016, the Court
24
25   modified the conditions of Mr. Love’s supervision, with his consent, to relocate his supervision

26   to the District of Oregon. See Dkt. # 19.

27          Mr. Love has completed his 30-day custodial confinement (see Dkt. # 16), and his period

28   of one year of supervised release began on June 22, 2016 (see Dkt. # 19). He has paid his

      DEFENDANT LOVE’S MOTION FOR RETURN OF PASSPORT- 1                        McKay Chadwell, PLLC
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                                                                             Seattle, Washington 98101-4124
                                                                           (206) 233-2800 Fax (206) 233-2809
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 1   restitution in full. See Dkt. # 19.
 2                                         III.    ARGUMENT
 3
             Longstanding practice in this District has been to return United States passports to
 4
     defense counsel upon self-surrender. Only recently has this District implemented a policy of
 5
     forwarding United States passports to the Department of State, where they will be destroyed.
 6
     There is nothing about Mr. Love or about this case that merits the destruction of his passport
 7
     rather than return of that document to defense counsel. Mr. Love is not a flight risk, has
 8
     completed his time in custody, and has already fulfilled his financial obligations. See Dkt. # 19.
 9
     While Mr. Love might be able to obtain a new passport upon release, it would require additional
10
     expense, time, and effort, not only on his part, but also on the part of the government to process
11
12   that request and to issue a new passport.

13           Mr. Love accepted responsibility for his actions in this matter and has complied with

14   every condition placed upon him throughout this process. We notified government counsel,

15   AUSA Mathew Diggs, of this request and received no objection.
16                                         IV.    CONCLUSION
17
             We respectfully request the Court to order that Mr. Love’s passport be returned to
18
     defense counsel, that it not be forwarded to the Department of State for destruction, and that
19
     defense counsel be authorized to provide Mr. Love with his passport once he has completed his
20
     term of supervised release. We have prepared a proposed Order for the Court’s consideration.
21
22
     //
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     //
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25   //

26   //
27   //
28
     //
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          DATED November 21, 2016.
 1
 2                                       McKAY CHADWELL, PLLC

 3
                                         s/ Robert G. Chadwell
 4                                       s/ Thomas M. Brennan
 5                                       Robert G. Chadwell, WSBA No. 22683
                                         Thomas M. Brennan, WSBA No. 30662
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